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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 COLDWATER CREEK, INC.,                             )
                                                    )
                Plaintiff,                          )
                                                    )
        vs.                                         )        1:06-cv-818- DFH-TAB
                                                    )
 CHARLES E. HILL & ASSOCIATES, INC.,                )
                                                    )
                Defendant.                          )


                                               ORDER

        The Court has been advised by counsel that a settlement has been reached in this matter.

 Accordingly, any pending motions are denied, without prejudice, as moot, and all previously

 ordered dates relating to discovery, filings, schedules, conferences and trial, if any, are vacated.

 Parties shall file a stipulation of dismissal within 30 days.

        SO ORDERED this 21st day of September, 2006.


                                                   s/ Tim A. Baker
                                                Tim A. Baker
                                                United States Magistrate Judge
                                                Southern District of Indiana



 Copies to:

 Peter J. Brann
 BRANN & ISAACSON
 pbrann@brannlaw.com

 R. Trevor Carter
 BAKER & DANIELS
 trevor.carter@bakerd.com
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 James Dimos
 LOCKE REYNOLDS LLP
 jdimos@locke.com

 Stacy L. Prall
 BAKER & DANIELS
 slprall@bakerd.com

 David A. Swetnam-Burland
 BRANN & ISAACSON
 dsb@brannlaw.com

 Joel E. Tragesser
 LOCKE REYNOLDS LLP
 jtragesser@locke.com
